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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK
                               Long Island Federal Courthouse
                                     814 Federal Plaza
                               Central Islip, NY 11722-4451
                                      (631) 712-5730

BEFORE:       ARLENE R. LINDSAY                     DATE: 4/26/2022
              United States Magistrate Judge
                                                    TIME: 12:00

DOCKET NO: 21-cv-01876-DRH-ARL


CASE: Pierre-Louis v. Citizens Options Unlimited, Inc.


     INITIAL CONFERENCE
     STATUS CONFERENCE
     SCHEDULING CONFERENCE                           BY TELEPHONE X
 X   SETTLEMENT CONFERENCE
     FINAL CONFERENCE
     FAIRNESS HEARING


       APPEARANCES:                  FOR PLAINTIFF:               FOR DEFENDANTS:
                                     Marjorie Mesidor             Siobhan Amanda Healy
The following rulings were made:
        The parties reached a settlement agreement. The terms were placed on the record. A
stipulation of discontinuance shall be submitted on or before May 13, 2022.



                                     SO ORDERED:
                                                   /s/
